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    C. Ms. Giuffre Has Worked to Obtain Records from Dr. Kutikoff and Other
       Providers.

       Defendant next claims that “Plaintiff indisputably has done nothing to retrieve her

medical records from Dr. Karen Kutikoff, from Wellington Imaging, or from Growing

Together.” 4 (Reply Br. at 5). This new claim, too, is false. First, Ms. Giuffre executed releases

for all of these providers, allowing all of her records that exist to be produced to the Defendant,

and sent those releases to the providers. Therefore, she has done the most important thing to

“retrieve” her medical records from those providers: provide authorization for the release of the

records that she sent, and, in many cases, paid for the records to be released. In doing so, she has

exhausted her legal obligations. But, going above and beyond her obligations, Ms. Giuffre’s

counsel and their staff have spent considerable resources (including a significant number of

hours of attorney time) attempting to track down Ms. Giuffre’s old medical records. That certain

providers did not maintain or produce records does not show any lack of diligence on Ms.

Giuffre’s part.

    D. Ms. Giuffre Has Properly Disclosed Dr. Hayek.

    Defendant next complains about an alleged inconsistency in her disclosures about Dr. Hayek.

Reply Br. at 4-5. But Dr. Hayek only illustrates the hours Ms. Giuffre’s legal team has spent on

the phone with medical provider offices to follow up on the medical releases that Ms. Giuffre

executed. For example, despite a seven-year destruction of records policy, Ms. Giuffre’s counsel

and Ms. Giuffre’s persistent telephone calls, emails, and in-person requests have now yielded Dr.

Hayek’s medical records despite being initially told by the office that there were no records



3
  See McCawley Decl. at Exhibit 5, Defendant’s Response to Plaintiff’s First Set of
Interrogatories at p. 11.
4
  Defendant states that Growing Together was a “residential drug treatment program.” (Br. at 5).
This is another misstatement: this facility does not keep people overnight.
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   I. Ms. Giuffre has not Omitted Medical Providers.

   In her reply brief, Defendant states that Ms. Giuffre “omitted” fifteen treatment providers

from her initial disclosures. (Reply Br. at 1-2). Ms. Giuffre, in her Rule 26 disclosures, stated

that for computation of medical damages, she would be relying upon medical records collected

from her physicians and expert testimony. After issuing her Rule 26 disclosures, Ms. Giuffre

supplemented her discovery on medical providers by production of numerous medical records

and signing medical releases for every provider Defendant requested, going back numerous

years, providing testimony regarding her medical issues, and voluntarily submitting herself for a

Rule 35 examination to Defendant’s doctor, without requiring Court intervention, and providing

responses to interrogatories. Ms. Giuffre has not intentionally withheld anything in discovery.

   There are multiple other inaccuracies throughout Defendant’s brief, but in the interest of

brevity and addressing only the most material inaccuracies, Ms. Giuffre has not addressed each

one.


                                         CONCLUSION

       Ms. Giuffre has properly disclosed her medical care providers to Defendant and,

accordingly, Defendant’s motion for sanction should be denied.


Dated: July 12, 2016.
                                              Respectfully Submitted,
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 12th day of July, 2016, I served the attached document
via Email and CM/ECF to the following counsel of record.

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